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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,

                 v.                      CIVIL ACTION

THE STATE OF GEORGIA, et al.,            FILE NO. 1:21-CV-02575-JPB

          Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

          Intervenor-Defendants.




                DEFENDANTS’ REPLY IN SUPPORT
               OF MOTION TO DISMISS COMPLAINT
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                               INTRODUCTION

      DOJ’s opposition to Georgia’s motion to dismiss removes any doubt that

this lawsuit is not a serious legal challenge but a politically motivated effort to

usurp the constitutional authority of Georgia’s elected officials to regulate

elections.

      The complaint’s legal deficiency is most apparent in DOJ’s treatment of

the question whether a violation of Section 2 of the Voting Rights Act can be

established by a discriminatory purpose, even without a discriminatory effect.

DOJ does not deny that its entire case—a single Section 2 claim—is built on

the premise that a discriminatory purpose alone is sufficient. Compare [Doc. 38

at 5-8], with [Doc. 58 at 15-18]. Nor does DOJ dispute that it has not even tried

to properly plead discriminatory effect. Compare [Doc. 38 at 9-10], with

[Doc. 58 at 19-22]. Thus, DOJ’s case stands or falls on its legal premise that

proving such an effect is unnecessary. See [Doc. 58 at 15-22].

      Yet DOJ offers no support for that premise: DOJ does not deny that the

language of Section 2 expressly requires a discriminatory “result.” Id. at 3; see

52 U.S.C. § 10301. Nor does DOJ offer any binding case law suggesting that

this express requirement can be ignored if DOJ (or any other plaintiff) proves

a discriminatory purpose. Compare [Doc. 38 at 5-8], with [Doc. 58 at 15-18].
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And DOJ fails to distinguish the two binding Eleventh Circuit decisions that

reject their position.

      In fact, members of Congress apparently agree that there currently is no

intent-only claim under Section 2. The John Lewis Voting Rights Advancement

Act, H.R. 4, introduced on August 17, 2021, proposes to amend Section 2 to

state that a violation is shown if an election law “has the purpose or will have

the effect of denying or abridging the right to vote on account of race or color[.]”

The John R. Lewis Voting Rights Advancement Act of 2021, H.R. 4, 117th

Cong. § 3(e) (2021) (emphasis added); see also id. § 2(d)(1) (stating that VRA

Section 2 is violated if an election law is “intended, at least in part, … to deny

or abridge the right … to vote on account of race [or] color”). If Section 2

currently allowed a purpose-only claim, there would be no need to amend in

that manner.

      If that were not enough, just this month the Attorney General himself

effectively conceded this dispositive point when he published an editorial in

the Washington Post urging Congress to adopt a new law requiring States to

prove that any proposed voting change will have “neither a racially

discriminatory purpose nor a racially discriminatory result.” Merrick B.

Garland, Opinion, It is time for Congress to act again to protect the right to vote,

WASH. POST, Aug. 5, 2021 (emphasis added). That request implicitly concedes

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that no such requirement currently exists. It also makes even clearer that DOJ

is asking this Court to usurp Congress’ authority to decide whether a State

should be subject to liability for election-law changes spurred by an alleged

discriminatory purpose but without discriminatory effect.

      DOJ, moreover, has doubled down on its purpose-only theory in a way

that illustrates its political danger. DOJ acknowledges that most of the

Georgia voting regulations it challenges here are common in other states. And

DOJ counts it a virtue of its position that a regulation that is perfectly lawful

when enacted by one jurisdiction can be unlawful when enacted in another—if

done for an “improper” purpose. [Doc. 58 at 28 n.11]. A regime that allows

particular voting laws to be stricken depending on the jurisdiction that enacts

them rather than the substance of the laws themselves would reintroduce the

very kind of partisan gamesmanship that Shelby County rejected. Shelby Cty.,

Ala. v. Holder, 570 U.S. 529, 544-45 (2013).

      But even if a discriminatory purpose were legally sufficient, the

complaint should still be dismissed. Rather than alleging specific facts showing

any   discriminatory     intent,   the       complaint   relies   upon   obvious

mischaracterizations of SB 202 and its history. In doing so, DOJ also ignores

the “totality of circumstances,” which confirms that Georgia’s election system




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imposes at most “the usual burdens of voting.” Brnovich v. Democratic Nat’l

Comm., 141 S. Ct. 2321, 2338 (2021).

      For these reasons, the Court should dismiss the complaint and, with it,

DOJ’s political attack on Georgia’s election system.

                                 ARGUMENT

I.    Without any allegation of discriminatory results, DOJ’s sole
      claim fails as a matter of law.

      Section 2 clearly requires allegations of discriminatory results. [Doc. 38

at 5-10]. The statutory text, the Supreme Court, and the Eleventh Circuit all

say as much. And DOJ concedes that it did not include such a claim, [Doc. 58

at 15-22], even as it illustrates (apparently inadvertently) the enormous

practical dangers an intent-only claim would create.

      A.    The VRA’s text and binding Supreme Court precedent
            foreclose DOJ’s position.

      The text of Section 2 is clear: a law violates Section 2 if it “results in a

denial or abridgment of the right … to vote[.]” 52 U.S.C. § 10301(a) (emphasis

added). Congress added the “results in” language to replace Section 2’s

previous intent-based test. [Doc. 38 at 6-7]. In opposing Georgia’s motion, DOJ

goes to great lengths not to quote the full text of Section 2. [Doc. 58]. But of

course, the Court must start with the text. Sebelius v. Cloer, 569 U.S. 369, 376

(2013). And the text is clear that Section 2 requires discriminatory results.


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      The Supreme Court agrees. In Thornburg v. Gingles, 478 U.S. 30 (1986),

the Supreme Court explained that Section 2’s “results in” test “repudiated” the

former “intent test.” Id. at 44. More recently, the Supreme Court confirmed

that the “results in” test “establish[ed] a new” Section 2 test. Brnovich, 141

S. Ct. at 2332. Even the Brnovich dissent agreed: “The ‘results in’ language …

tells courts that they are to focus on the law’s effects. Rather than hinge

liability on state officials’ motives, Congress made it ride on their actions’

consequences. That decision was as considered as considered comes.” Id.

at 2357 (Kagan, J., dissenting). With the current Section 2, in short, Congress

enacted “a results-focused statute.” Id. at 2358. Nothing in the majority

opinion in Brnovich or the dissent suggests that discriminatory intent alone

could lead to liability.1

      DOJ mischaracterizes Brnovich, suggesting that the Court meant to

endorse an intent-only claim because it discussed “the plaintiffs’ Section 2

results claim and their Section 2 purpose claim” in “separate sections of its

opinion.” [Doc. 58 at 17]. But DOJ does not point to any language from

Brnovich suggesting that it endorsed an intent-only claim under Section 2. See



1As noted earlier, Members of Congress appear to agree, as the most recently
proposed amendments to Section 2 seek to add an intent-only claim to
Section 2. See H.R. 4 §§ 2(d)(1), 3(e).

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id. Instead, DOJ relies on the fact that the Court discussed each claim in turn.

But   that   underscores    Georgia’s   basic   point—Brnovich     addressed    a

discriminatory intent claim brought alongside a discriminatory results claim.2

Nothing in Brnovich suggests that a Section 2 intent-only claim is viable.

      B.     Binding Eleventh Circuit precedent also forecloses DOJ’s
             position.

      Aside from Brnovich, the Eleventh Circuit has required discriminatory

results for 25 years. That Court has held repeatedly that “discriminatory intent

alone is insufficient to establish a violation of Section 2.” Johnson v. DeSoto

Cty. Bd. of Comm’rs, 72 F.3d 1556, 1561 (11th Cir. 1996) (section heading);

accord Brooks v. Miller, 158 F.3d 1230, 1237 (11th Cir. 1998) (same). Here

again, DOJ responds by ignoring the text of these decisions. Instead, DOJ

attempts to limit these holdings to vote-dilution claims. [Doc. 58 at 19-20]. But

the Eleventh Circuit did not limit its rulings in Johnson and Brooks. To the



2In fact, Brnovich also included Fourteenth and Fifteenth Amendment claims,
which DOJ cannot bring against Georgia. 141 S. Ct. at 2334. Indeed, many
Section 2 cases that discuss intentional discrimination are cases where a
Section 2 results claim is paired with intentional discrimination claims under
the Fourteenth and Fifteenth Amendments. See, e.g., Greater Birmingham
Ministries v. Sec’y of State for Ala., 992 F.3d 1299, 1329 (11th Cir. 2021) (GBM);
Veasey v. Abbott, 830 F.3d 216, 229 (5th Cir. 2016); Fusilier v. Landry, 963 F.3d
447, 463 (5th Cir. 2020); but see Ga. State Conf. of NAACP v. Georgia, 269
F. Supp. 3d 1266, 1277 (N.D. Ga. 2017) (three-judge court) (finding Section 2
authorizes either intent or effects claims).


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contrary, in announcing the rule, Johnson repeatedly addressed Section 2

generally. Johnson, 72 F.3d at 1563 (The “statutory language” of Section 2

“admits of no exception for situations in which there is discriminatory intent

but no discriminatory results.”); id. (explaining that the Senate “report does

not require, or even allow, us to hold that intent alone is sufficient under § 2”).

The same is true of Brooks. 158 F.3d at 1237 (“[D]iscriminatory intent alone,

in the absence of a showing of discriminatory effect, is insufficient to establish

a violation of § 2.”). However different a vote-dilution claim is from a vote-

denial claim, each arises under Section 2 and both Johnson and Brooks require

a plaintiff to allege discriminatory results.

      Moreover, even if these cases or the statutory text were at all unclear on

this point, the saving-construction canon of interpretation requires courts to

interpret statutes, “if fairly possible, so as to avoid not only the conclusion that

[they are] unconstitutional, but also grave doubts upon that score.” United

States v. Jin Fuey Moy, 241 U.S. 394, 401 (1916). The VRA, enacted under

Congress’s remedial Fourteenth and Fifteenth Amendment enforcement

power, is naturally limited by that power. City of Boerne v. Flores, 521 U.S.

507, 519 (1997). And there must be “congruence and proportionality between

the injury to be prevented or remedied and the means adopted to that end.” Id.

at 520. DOJ’s interpretation of Section 2 would run afoul of those limits.

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Indeed, in the Eleventh Circuit, plaintiffs must “establish both” a

discriminatory “intent and effect” for claims alleging violations of either the

Equal Protection Clause or the Fifteenth Amendment to survive. GBM, 992

F.3d at 1321. And because, under Boerne, Congress cannot expand those rights

by creating a cause of action for parties alleging only discriminatory intent,

this Court should reject DOJ’s interpretation which—at least—raises these

questions.

      As Georgia established (at [Doc. 38 at 5-10]), DOJ’s failure to include a

discriminatory results claim dooms its complaint right out of the gate. And

DOJ does not contest that its complaint must be dismissed if the Court agrees.

Accordingly, the Court should follow the text of Section 2, along with binding

precedent, and dismiss DOJ’s complaint.

      C.     DOJ’s argument that identical laws can be valid in one
             State and invalid in another is wrong and rife with
             potential mischief.

      Finally, DOJ’s own brief powerfully demonstrates the danger of its

position that VRA liability can be based on discriminatory intent alone. In its

motion, Georgia showed that SB 202 implemented many of the same voting

rules that are in place in states across the country. [Doc. 38 at 20-24]. Yet DOJ

has not brought Section 2 claims against those other states, despite having the

same voting practices that are, according to the President, “Jim Crow in the


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21st century.” Id. at 20. To the contrary, DOJ acknowledges its double

standard. [Doc. 58 at 28 n.11]. According to DOJ, the same law, having the

same effect, can be unlawful in one state but not in another. Id.

      Such a sweeping proposition leaves states at serious risk of

transparently political interference under the guise of the VRA. Apparently, a

state that historically elects Democrats as its leaders may enact commonsense

voting regulations, but states led by Republicans may not enact the very same

laws—or at least risk inviting burdensome litigation by DOJ if they do. A more

potent prescription for partisan gamesmanship can hardly be imagined. The

Court should reject DOJ’s legal theory and, with it, the politically motivated

double standard that it would facilitate. Because DOJ’s entire complaint

depends on the viability of that theory, the complaint should be dismissed.

II.   Even if liability could be based on purpose alone, DOJ fails to
      plead facts sufficient to state a plausible discriminatory purpose
      claim.

      Based on the analysis above, this Court need not even address the

question of what might be necessary to state a discriminatory purpose-only

claim, if such a claim existed. But even so, DOJ’s opposition fails to rebut

Georgia’s showing that DOJ’s allegations are insufficient to establish a

discriminatory purpose. To establish such a purpose, a plaintiff must allege

that “the legislature as a whole” acted with a discriminatory purpose.


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Brnovich, 141 S. Ct. at 2350. The “touchstone” for this analysis is whether a

state’s “entire system of voting” is “equally open.” Id. at 2339, 2341. As DOJ

admits, “[a]n atomized assessment” of a voting law “is improper.” Stmt. of

Interest at 9, Ga. State Conf. of NAACP v. Raffensperger, No. 1:21-cv-1259-JPB

(N.D. Ga. July 26, 2021). And none of DOJ’s specific attempts to rescue their

allegations of improper purpose hold water.

      A.    DOJ’s threshold arguments fail.

      At the threshold, DOJ argues that it need not allege facts showing that

the “‘legislature as a whole’ was motivated by a discriminatory purpose.”

[Doc. 58 at 22]. Rather, DOJ suggests that the Supreme Court used this phrase

in Brnovich as “shorthand” to discuss the Arlington Heights framework.

[Doc. 58 at 22]. But Brnovich did not equivocate: Only “the legislature as a

whole”—not a bill’s sponsor or an individual member—can supply the “racial

motives” necessary for a Section 2 vote-denial claim. 141 S. Ct. at 2350. DOJ’s

assertion that the Court nonetheless meant something different is belied by

the Court’s actual language.

      DOJ also repeatedly argues that this Court should deny Georgia’s motion

simply because “voting rights claims are ill-suited for resolution through

motions to dismiss.” [Doc. 58 at 15]. But not even DOJ is insulated from Rule

8’s pleading standards or the decisions applying them. Fed. R. Civ. P. 8;


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Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007). Unsurprisingly, federal courts routinely dismiss Section 2 claims.3

When any plaintiff, even the United States, fails to allege sufficient facts to

show a violation of Section 2, the complaint should be dismissed, irrespective

of the plaintiff’s wish to engage in protracted, expensive discovery.

      B.    DOJ’s factual allegations fail to state a claim                  of
            discriminatory purpose, if such a claim existed.

      On the merits, DOJ argues that it has alleged sufficient facts to plead a

plausible discriminatory purpose claim. [Doc. 58 at 22-40]. But DOJ did not

allege any discriminatory act or statement on the part of any member of the

General Assembly during SB 202’s passage. [Doc. 38 at 11]. Now, in its

opposition, DOJ strings together five sets of allegations about SB 202’s

application and history, hoping the Court will manufacture a discriminatory

purpose that DOJ did not plausibly plead. [Doc. 58 at 22-40]. The Supreme

Court has already rejected this approach to Section 2 claims, explaining that

such claims require a court to consider a state’s “entire system of voting” to

determine if it is “equally open.” Brnovich, 141 S. Ct. at 2340, 2341. The Court



3 See, e.g., Thompson v. Kemp, 309 F. Supp. 3d 1360, 1366 (N.D. Ga. 2018);
Lowery v. Deal, 850 F. Supp. 2d 1326, 1336 (N.D. Ga. 2012); Broward Citizens
for Fair Dists. v. Broward Cty., No. 12-cv-60317, 2012 WL 1110053, at *7 (S.D.
Fla. Apr. 3, 2012).


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must “tak[e] into account the other available means” Georgia provides to vote.

Id. at 2339. The Court should reject DOJ’s attempt to cherry-pick a handful of

provisions in SB 202 to support its discriminatory-purpose claim.4

      1. DOJ begins by arguing that the challenged provisions will have a

discriminatory impact on Black voters. [Doc. 58 at 23-28]. This idea is in square

conflict with DOJ’s decision not to claim that SB 202 has a discriminatory

result. See supra Part I. Moreover, this argument fails because none of DOJ’s

allegations shows a discriminatory impact.

      For instance, DOJ argues that SB 202 will disproportionately impact

Black voters because they are more likely to request absentee ballots fewer

than 11 days before an election, as provided for in SB 202. [Doc. 58 at 24]. From




4 By explaining the deficiencies of these factual allegations, Georgia is not
raising “factual disputes regarding the allegations,” as DOJ suggests. [Doc. 58
at 2]. Rather, Georgia demonstrates that the factual allegations do not support
DOJ’s arguments and, moreover, they overlook the full context of SB 202.

To be sure, DOJ’s burden at the pleading stage is different than at trial. But
the legal requirements for a Section 2 claim “remain constant through the life
of a lawsuit.” Comcast Corp. v. Nat’l Ass’n of African-Am.-Owned Media, 140
S. Ct. 1009, 1014 (2020). “[T]o determine what the plaintiff must plausibly
allege at the outset of a lawsuit,” courts “ask what the plaintiff must prove in
the trial[.]” Id. Brnovich clarifies the law for a Section 2 claim, and thus DOJ
must plead sufficient allegations to satisfy Brnovich’s requirements.


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this, DOJ speculates, they will be unable to request absentee ballots in time to

vote. Id.

      But the complaint does not support this argument. DOJ only alleges that

during the recent pandemic-affected election cycles, Black voters were more

likely to request ballots “between ten and four days before Election Day.”

[Doc. 1 ¶¶ 58-59]. DOJ does not address any practice before that unusual

election year. Moreover, DOJ ignores the Supreme Court’s direction to allege

facts showing how much more likely Black voters were to request ballots

during the specified period. See Brnovich, 141 S. Ct. at 2339 (“a meaningful

comparison is necessary”). DOJ also fails to allege that Black voters are unable

or unlikely to adjust their practices to request the ballot 11 days before an

election. Instead, DOJ assumes that they will not be able to do so.5 Such

speculation fails to support a discriminatory purpose claim. Simpson v.

Sanderson Farms, 744 F.3d 702, 712 (11th Cir. 2014) (noting that “speculation

does not state a claim”).




5 Georgia rejects DOJ’s paternalistic view that voters of certain races are
somehow less capable of determining how to cast a ballot. Such soft bigotry of
low expectations has no place in this country. Just as Black voters have been
able to request absentee ballots under the current system [Doc. 1 ¶ 22], Georgia
is confident in their ability (like all voters) to do so under the new system.


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      The same is true of DOJ’s argument that “Black voters are less likely to

have the required ID to request an absentee ballot.” [Doc. 58 at 24]. Multiple

courts have rejected similar arguments challenging ID requirements for

voting. See Crawford v. Marion Cty. Election Bd., 553 U.S. 181 (2008) (op. of

Stevens, J.); Common Cause/Ga. v. Billups, 554 F.3d 1340, 1345 (11th Cir.

2009). Moreover, DOJ’s argument mischaracterizes SB 202’s ID provision:

DOJ alleges that “Black Georgians are less likely to possess” the ID “number

needed to request an absentee ballot than white voters.” [Doc. 1 ¶ 54]. But the

ID number is just one method for a voter to verify his or her identity when

requesting an absentee ballot. DOJ does not allege that Black voters are less

likely to have a utility bill, bank statement, or one of the other documents that

may be used to verify an applicant’s identity. SB 202 at 64:1617-19. DOJ has

thus failed to allege any facts showing that Black voters will be less likely to

have the requisite documentation to apply for an absentee ballot.

      DOJ next argues that Black voters are more likely to “cast late ballots,”

and thus are somehow “particularly harmed by the limitations on drop-boxes.”

[Doc. 58 at 24]. This argument strains logic. SB 202 does not change the end of

the advance voting period—it still closes the Friday before Election Day, just

as it did before SB 202. SB 202 at 59:1496. And the complaint does not allege




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that Black voters are unable to submit their ballots in a drop box or through

in-person advance voting by the Friday before Election Day.6

      With respect to SB 202’s prohibition on approaching voters in line to offer

them something of value, DOJ again comes up short. [Doc. 58 at 24]. Without

explanation, DOJ argues that this provision will disproportionately affect

Black voters. See id. But DOJ does not allege that Black voters are unable to

bring their own food or drinks to the polls. Nor does DOJ allege that Black

voters are unable to access water at a polling location, as SB 202 expressly

permits. SB 202 at 74:1888-89.

      More fundamentally, DOJ misunderstands this portion of SB 202.

SB 202 prevents anyone from approaching voters while they are waiting in line

within 150 feet of a polling location. SB 202 at 73:1878-79. But it certainly does

not take “hours” to move through the final 150 feet of a voting line. [Doc. 58

at 37]. Rather, DOJ must be discussing the voting lines beyond the last 150

feet. For that portion of the line, SB 202 allows anyone—including “Black-led

organizations” [Doc. 58 at 37]—to set up tables with food and drinks within 25

feet of the line, provided they are giving away food and drinks to everyone, not


6DOJ’s focus on drop boxes is misplaced for another reason. In addition to drop
boxes, every voter may submit an absentee ballot by placing it in a mailbox or
delivering it to an elections office through Election Day.


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limiting it to only voters or offering it in return for voting. SB 202 at 74:1881.

In other words, for almost the entire voting line, community organizations may

hand out food and drinks, provided they set-up approximately ten yards away

from the line (again, provided they are also complying with longstanding laws

prohibiting giving away anything of value in return for voting). DOJ’s

mischaracterization of this provision does not support a Section 2 claim.

      2. DOJ next argues that historical background shows a discriminatory

purpose behind SB 202. [Doc. 58 at 29-32]. Once again, DOJ ignores binding

precedent. The Supreme Court has rejected this argument, noting that the

VRA, like the Constitution, is not “designed to punish for the past.” Shelby

Cty., 570 U.S. at 553. So has the Eleventh Circuit: a state’s “racist history” is

too remote to prevent it from “enacting otherwise constitutional laws about

voting.” GBM, 992 F.3d at 1325. “Surely, ‘past discrimination cannot, in the

manner of original sin, condemn governmental action that is not itself

unlawful.’” Id. (quoting City of Mobile v. Bolden, 446 U.S. 55, 74 (1980)). While

DOJ may want to “punish” Georgia for its history, binding precedent precludes

it from doing so. And under that precedent, allegations about Georgia’s distant

past are irrelevant.

      DOJ’s focus on more recent history also fails. DOJ discusses the

“campaign to overturn the November 2020 election results, violent threats

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against election workers, and countless unsuccessful lawsuits, all premised on

unfounded accusations of fraud.” [Doc. 58 at 30]. Because SB 202 was passed

shortly after these events, DOJ simply assumes a discriminatory purpose,

without alleging any actual connection. But assumptions are not facts. DOJ

does not allege that anyone involved in passing SB 202 was involved in a

“campaign to overturn the November 2020 election results” or in making

threats against election workers. Id. These allegations thus fail to support any

claim of a discriminatory purpose behind SB 202.

      Amazingly, DOJ also criticizes Georgia legislators for their recent efforts

to secure future elections against potential fraud and increase confidence in

Georgia’s election results. As DOJ sees it, because there was no “widespread

fraud in Georgia” that “required enacting the provisions in SB 202,” these

legislators must have been using fraud as a pretext for discrimination. Such

accusations are offensive and false. The Supreme Court recently confirmed

that voter fraud is a real concern. Brnovich, 141 S. Ct. at 2350. The Carter-

Baker Commission years ago concluded likewise. Id. at 2347. And as Georgia

already demonstrated, voter fraud has occurred in Georgia. [Doc. 38 at 17].




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Thus, DOJ’s focus on Georgia’s history—whether recent or distant—fails to

support its Section 2 discriminatory purpose claim.7

      3. DOJ also argues that a discriminatory purpose may be inferred from

the General Assembly departing from its normal legislative procedure in

passing SB 202. [Doc. 58 at 32-34]. The problem for DOJ, however, is that it

failed to identify any actual procedural deviations. [Doc. 1 ¶ 157]. DOJ

discusses committee assignments, the length of the bill, and the timeline of

SB 202’s passage. Id. But DOJ omits any allegation demonstrating that this

process was out of the ordinary—much less so far out of the ordinary to show

an ulterior motive. Moreover, this argument overlooks the facts. As DOJ

acknowledges, SB 202 was the product of hearings, testimony, and floor

debates. [Doc. 1 ¶¶ 110, 116, 118, 164]. Given those facts, which DOJ

acknowledges, SB 202’s legislative process cannot support DOJ’s claim.

      4. DOJ next argues that SB 202 must be the product of discriminatory

motives because it had a foreseeable discriminatory impact. [Doc. 58 at 35-38].

Here again, DOJ brushes aside binding precedent. The Eleventh Circuit has




7Georgia already demonstrated that concerns about voter fraud were just one
of several purposes behind SB 202. [Doc. 38 at 16]. DOJ and the District of
Columbia are thus misguided in their narrow focus on the adequacy of
Georgia’s concerns about voter fraud. [Doc. 58 at 30]; [Doc. 63-1 at 3].


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refused to infer “foreknowledge” of disparate impacts where the legislature’s

proffered justifications were legitimate. GBM, 992 F.3d at 1327. Similarly,

“[t]he Supreme Court has … repeatedly cautioned … against placing too much

emphasis on the contemporaneous views of a bill’s opponents” as “speculations

and accusations of … opponents simply do not support an inference of the kind

of racial animus discussed in … Arlington Heights.” Butts v. City of New York,

779 F.2d 141, 147 (2d Cir. 1985).

      While it is certainly true that SB 202 faced opposition, as almost all

legislation does, members of the General Assembly received information,

considered it, and voted. While DOJ may believe that a discriminatory purpose

exists when individuals and organizations oppose a voting bill, the Supreme

Court and the Eleventh Circuit reject that view. So once again, DOJ’s

argument crumbles under the weight of binding precedent.8

      5. Finally, DOJ asks the Court to infer a discriminatory purpose based

on the “totality of the circumstances.” [Doc. 58 at 38-40]. This argument misses

the mark for several reasons. DOJ relies heavily on the Gingles factors, which

the Supreme Court recently held were largely “inapplicable” to “time, place, or


8Moreover, DOJ’s suggestion here that there was a foreseeable discriminatory
impact from SB 202 is undercut by the fact that DOJ has not identified any
racially discriminatory impact from SB 202. See supra Part II.B.1.


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manner” regulations like those at issue here. Brnovich, 141 S. Ct. at 2340.9

And for those Gingles factors that may be applicable, their “relevance” is “much

less direct” outside of the vote-dilution context. Id.

      Rather than relying on such “inapplicable” and “less” “relevan[t]” factors,

DOJ and the Court must consider Georgia’s “entire system,” which shows that

its election laws are among the most generous in the country for absentee and

early voting. Georgia uses automatic voter registration, allows multiple

options for voting, and provides multiple options for returning absentee ballots.

Yet DOJ asks the Court again to ignore binding precedent and to review

isolated provisions of SB 202 stripped of their context and the totality of

circumstances. Id. at 2339 (“any burden imposed on voters who choose one of

the available options cannot be evaluated without also taking into account the

other available means”).

      Moreover, when viewing SB 202 in its entirety, the statute’s stated

purpose is helpful guidance. [Doc. 38 at 14-17]. There “is, of course, no more

persuasive evidence of the purpose of a statute.” United States v. Am. Truckers


9 DOJ criticizes Georgia for relying on vote-dilution cases when arguing that
there is no intent-only claim permitted under Section 2. [Doc. 58 at 20]. But
ironically, for this portion of its opposition, DOJ relies on the Gingles factors,
which “grew out of and were designed for use in vote-dilution cases.” Brnovich,
141 S. Ct. at 2340.


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Ass’ns, 310 U.S. 534, 543 (1940). Contrary to suggestions from DOJ [Doc. 58

at 41] and the District of Columbia [Doc. 63-1 at 4-5], Georgia does not propose

blind fealty to SB 202’s stated purpose; a stated purpose may be disregarded

when “plainly at variance with the policy of the legislation as a whole.” [Doc. 38

at 15] (citing Am. Truckers, 310 U.S. at 543). But here, SB 202’s stated

purposes are instructive, as each challenged provision logically furthers the

purposes identified. [Doc. 38 at 15] (discussing the challenged provisions and

SB 202’s purposes). SB 202’s stated purposes certainly inform the “totality of

circumstances.” And Georgia’s election system provides ample ways to vote;

DOJ’s implausible assertions to the contrary cannot state a Section 2 claim.

      When discussing the totality of circumstances surrounding SB 202, DOJ

would have this Court believe that SB 202 restricted Georgians’ ability to vote

at every turn. For instance, DOJ suggests that SB 202 imposed “draconian cuts

to drop boxes[.]” [Doc. 58 at 35]. Similarly, DOJ suggests that SB 202 limited

the types of ID that would be accepted with an absentee ballot application. Id.

at 26. DOJ also suggests that SB 202 suddenly prevents Georgia officials from

mailing absentee ballots “to all voters[.]” Id.

      None of that is true, and DOJ cites no reason to believe any of it. While

voting by drop boxes was permitted as part of the State’s “pandemic

response[,]” “[t]he drop boxes created by rule no longer existed in Georgia law

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when the emergency rules that created them expired.” SB 202 at 5:114-15.

Thus, far from “draconian cuts,” SB 202 statutorily required drop boxes for the

first time. Similarly, SB 202 replaced the “subjective signature-matching

requirements,” which have been challenged by Republicans and Democrats,

with the ID requirements, which, as noted earlier, allow for many forms of ID

beyond a driver’s license. Id. at 4:73-75, 43:1087-1104. Finally, Georgia’s

election laws did not previously contemplate mailing absentee ballots to all

voters; that was simply done during one pandemic-affected election. [Doc. 58

at 7].

         DOJ fails to acknowledge any of these facts, offering instead fiction and

misleading rhetoric. But a simple review of SB 202 and DOJ’s allegations

shows that DOJ mistakenly compares SB 202 to COVID-19 emergency

provisions. As explained, the voting laws in place previously, not the 2020

emergency provisions, provide the relevant baseline. Once viewed properly, the

insufficiency of DOJ’s factual allegations becomes readily apparent.

                                  CONCLUSION

         DOJ has failed to plead the fundamental requirements of a Section 2

claim. It failed to allege discriminatory results, the most essential element of

its sole cause of action. And even if discriminatory purpose, without more, were

a sufficient basis for such a claim, DOJ failed to allege sufficient facts to


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plausibly plead such a purpose. At each turn, moreover, DOJ ignores the

entirety of Georgia’s election system and urges the Court to ignore binding

precedent, including the text of Section 2 and controlling decisions of the

Supreme Court and the Eleventh Circuit. For all these reasons, the Court

should dismiss DOJ’s complaint.

     Respectfully submitted this 18th day of August, 2021.

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Defendants’ Reply in Support of Motion to Dismiss Complaint has

been prepared in Century Schoolbook 13, a font and type selection approved by

the Court in L.R. 5.1(B).

                                   /s/ Gene C. Schaerr
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